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AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations i: i
UNITED STATES DISTRICT COURT JUL 21 2029
SOUTHERN DISTRICT OF CALIFORNIA cleEe
f U3. DISTRICT 27
SOUTHERN °N QISTRICT OF
UNITED STATES OF AMERICA JUDGMENT IN A CRIMIBAL CA VOCE.

 

(For Revocation of Probation or Supervised Release) /
(For Offenses Committed On or After November 1, 1987)

 

 

V.
JORGE ANTONIO AGUILA (1) Case Number: 17CR3486-CAB
MICHAEL L. CROWLEY
Defendant's Attorney

REGISTRATION NO. 98135198

5: ;

THE DEFENDANT:

admitted guilt to violation of allegation(s) No. 3, 4, 5, 6,7

L] was found guilty in Violation of allegation(s) No. ° after denial of guilty.

 

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number. ' Nature of Violation
3 nv21, Failure to participate in drug aftercare program
4,5,6,7 . nv3, Unlawful use of a controlled substance or Failure to Test; VCCA (Violent Crime Control

Act)

Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this Judgment.
The sentence is imposed pursuant to the ‘Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until ail fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any

_ material change in the defendant’s economic circumstances.

July 31, 20207)

Date of Im “sen of Sentence

’ HON. Cathy Ann Bencivengo
UNITED STATES DISTRICT JUDGE

 
“ “Case 3:17-cr-03486-CAB Document 89 Filed 07/31/20 PagelD.227 Page 2 of 2

AO 243D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

 

DEFENDANT: JORGE ANTONIO AGUILA (1) Judgment - Page 2 of 2
CASE NUMBER: 17CR3486-CAB

IMPRISONMENT

The defendant i is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term oft
FIVE (5) MONTHS.

\

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:.

OO

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
Kl at 12:00 — PM. . on | MONDAY, AUGUST 3, 2020

 

 

Cl as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:

CL] on or before

C1 as notified by the United States Marshal. |

Cas notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on , to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By DEPUTY UNITED STATES MARSHAL

Hf

17CR3486-CAB
